                   UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF MISSOURI

KRISTEN WALTERS,                              Civil Action No.:

      Plaintiff,
                                              COMPLAINT AND DEMAND FOR
vs.                                           JURY TRIAL

GC SERVICES, LP; and DOES 1
through 10, inclusive,

      Defendant.

                                    COMPLAINT

                             I.     INTRODUCTION

      1.     This is an action for actual and statutory damages brought by Plaintiff,

Kristen Walters, an individual consumer, against Defendant, GC Services, LP, for

violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq.

(hereinafter ‘‘FDCPA’’), which prohibits debt collectors from engaging in abusive,

deceptive, and unfair practices.

                              II.    JURISDICTION

      2.     Jurisdiction of this court arises under 15 U.S.C. § 1692k(d) and 28

U.S.C. § 1337. Declaratory relief is available pursuant to 28 U.S.C. §§ 2201 and

2202. Venue in this District is proper in that the Defendant transacts business here.




                                          1

           Case 5:14-cv-06078-BP Document 1 Filed 07/10/14 Page 1 of 5
                                 III.   PARTIES

      3.     Plaintiff, Kristen Walters, is a natural person with a permanent

residence in Holt County, MO 64048.

      4.     Upon information and belief, the Defendant, GC Services, LP, is a

law firm engaged in the business of collecting debts in this state and in several

other states, with its principal place of business located in Houston, Texas. The

principal purpose of Defendant is the collection of debts in this state and several

other states, and Defendant regularly attempts to collect debts alleged to be due to

another.

      5.     Defendant is engaged in the collection of debts from consumers using

the mail and telephone. Defendant regularly attempts to collect consumer debts

alleged to be due to another. Defendant is a ‘‘debt collector’’ as defined by the

FDCPA, 15 U.S.C. § 1692a(6).

                        IV.   FACTUAL ALLEGATIONS

      6.     The debt that Defendant is attempting to collect on is an alleged

obligation of a consumer to pay money arising out of a transaction in which the

money, property, insurance or services which are the subject of the transaction are

primarily for personal, family, or household purposes, whether or not such

obligation has been reduced to judgment.




                                           2

           Case 5:14-cv-06078-BP Document 1 Filed 07/10/14 Page 2 of 5
       7.       Within the last year, Defendant constantly and continuously called

Plaintiff at, but not limited to, 816-401-4412, and was successful in causing

Plaintiff annoyance.

       8.       Within the last year, Defendant’s representative contacted a third

party, Plaintiff’s mother, at 816-264-2408, and communicated with her regarding

Plaintiff’s debt.

       9.       The natural consequences of Defendant’s statements and actions were

to produce an unpleasant and/or hostile situation between Defendant and Plaintiff.

       10.      The natural consequences of Defendant’s statements and actions were

to cause Plaintiff mental distress.

       11.      As a result of the acts alleged above, Plaintiff suffered emotional

distress resulting in Plaintiff feeling stressed, amongst other negative emotions.

                             V.       CLAIM FOR RELIEF

       12.      Plaintiff repeats and realleges and incorporates by reference to the

foregoing paragraphs.

       13.      Defendants violated the FDCPA. Defendants’ violations include, but

are not limited to, the following:

       (a) Defendant violated §1692b by contacting a person other than Plaintiff for

             purposes other than location information;




                                            3

             Case 5:14-cv-06078-BP Document 1 Filed 07/10/14 Page 3 of 5
(b) Defendant violated §1692b(2) of the FDCPA by communicating with

   someone other than Plaintiff and disclosing the existence of Plaintiff’s

   debt;

(c) Defendant violated §1692c(b) of the FDCPA by communicating with a

   person other than the Plaintiff;

(d) Defendant violated 15 U.S.C. §1692d by engaging in conduct, the natural

   consequence of which is to harass, oppress or abuse any person in

   connection with the collection of the alleged debt;

(e) Defendant violated 15 U.S.C. §1692d(5) by causing a telephone to ring

   or engaging any person in telephone conversation repeatedly or

   continuously with intent to annoy, abuse, or harass any person at the

   called number;

(f) Defendant violated 15 U.S.C. §1692e by using false, deceptive, or

   misleading representation or means in connection with the collection of

   the alleged debt.

   As a result of the foregoing violations of the FDCPA, Defendant is liable

   to the Plaintiff, Kristen Walters, for declaratory judgment that

   Defendant’s conduct violated the FDCPA, actual damages, statutory

   damages, and costs and attorney fees.




                                      4

   Case 5:14-cv-06078-BP Document 1 Filed 07/10/14 Page 4 of 5
WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendant, GC Services, LP, for the following:

      A.     Declaratory judgment that Defendant’s conduct violated the FDCPA.

      B.     Actual damages.

      C.     Statutory damages pursuant to 15 U.S.C. § 1692k.

      D.     Costs and reasonable attorney fees pursuant to 15 U.S.C. § 1692k.

      E.     Awarding Plaintiff any pre-judgment and post-judgment interest as

             may be allowed under the law.

      F.     For such other and further relief as the Court may deem just and

             proper.

                          DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Kristen Walters, demands trial by jury in this

action.


DATED: March 4, 2014                           RESPECTFULLY SUBMITTED,

                                               /s/ Raymond E. Probst

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                                           5

           Case 5:14-cv-06078-BP Document 1 Filed 07/10/14 Page 5 of 5
